Case No. 1:23-cv-01948-PAB-KAS Document 68 filed 01/24/24 USDC Colorado pg 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                  Chief Judge Philip A. Brimmer

  Civil Action No.: 23-cv-01948-PAB-KAS                      Date: January 24, 2024
  Courtroom Deputy: Sabrina Grimm                            Court Reporter: Janet Coppock

   Parties:                                                  Counsel:

   COLORADO REPUBLICAN PARTY, an                             Randy Corporon
   unincorporated nonprofit association, on behalf of        John Eastman
   itself and its members,

        Plaintiff,

   v.

   JENA GRISWOLD, in her official capacity as                Kyle Holter
   Colorado Secretary of State,                              Oliva Probetts
                                                             Talia Kraemer
                                                             LeeAnn Morrill

        Defendant.


                                      COURTROOM MINUTES


  PRELIMINARY INJUNCTION HEARING – Day 2

  8:01 a.m.          Court in session.

  Defendant’s witness, Hilary Rudy, resumes.

  Continued direct examination of Ms. Rudy by Mr. Holter.

  8:16 a.m.          Cross examination of Ms. Rudy by Mr. Corporon.

  9:08 a.m.          Redirect examination of Ms. Rudy by Mr. Holter.

  Comments by Ms. Rudy in response to the Court’s questions.

  Defendant’s witness, Todd Davidson, sworn.

  9:18 a.m.          Direct examination of Mr. Davidson by Ms. Morrill.
Case No. 1:23-cv-01948-PAB-KAS Document 68 filed 01/24/24 USDC Colorado pg 2 of 3




  Exhibit N is admitted.

  9:51 a.m.     Cross examination of Mr. Davison by Mr. Corporon.

  Comments by Mr. Davidson in response to the Court’s questions.

  Defendant’s witness, Richard Wadhams, sworn.

  9:56 a.m.     Direct examination of Mr. Wadhams by Ms. Probetts.

  10:16 a.m.    Cross examination of Mr. Wadhams by Mr. Corporon.

  10:24 a.m.    Redirect examination of Mr. Wadhams by Ms. Probetts.

  10:27 a.m.    Court in recess.
  10:46 a.m.    Court in session.

  Discussion regarding an additional person seated at Plaintiff’s counsel table.

  Defendant’s witness, John Sides, sworn.

  10:48 a.m.    Direct examination of Mr. Sides by Ms. Kraemer.

  Exhibit E is admitted.

  11:16 a.m.    Cross examination of Mr. Sides by Mr. Corporon.

  Defense rests.

  11:25 a.m.    Court in recess.
  11:36 a.m.    Court in session.

  Plaintiff’s witness, Tom Bjorklund, recalled for rebuttal.

  11:37 a.m.    Direct examination of Mr. Bjorklund by Mr. Corporon.

  11:52 a.m.    Cross examination of Mr. Bjorklund by Mr. Holter.

  12:02 p.m.    Evidence is closed.

  Court reviews admitted exhibits with counsel.

  Discussion regarding transcript designations [58] and scheduling.

  12:09 p.m.    Court in recess.
  1:12 p.m.     Court in session.
Case No. 1:23-cv-01948-PAB-KAS Document 68 filed 01/24/24 USDC Colorado pg 3 of 3




  1:13 p.m.    Plaintiff’s closing argument by Mr. Eastman.

  1:53 p.m.    Denfendant’s closing argument by Mr. Holter.

  2:32 p.m.    Plaintiff’s closing rebuttal argument by Mr. Eastman.

  Discussion regarding transcript designations [58].

  ORDERED: Plaintiff’s Motion for Preliminary Injunction [39] is TAKEN UNDER
           ADVISEMENT. The Court will issue a written order.

  2:42 p.m.    Court in recess.

  Hearing concluded.
  Total time in court: 5:08
